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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 YEHUDA SIGALIT,
                                                                                            5/29/2024
                                 Plaintiff,

                         -against-

 JOSSEF KAHLON,
                                 Defendant.
                                                                  21-CV-08921 (MMG) (JC)
 JOSSEF KAHLON,
                                                                  ORDER
                                 Counterclaim Plaintiff,

                         -against-

 YEHUDA SIGALIT and AVRAHAM YEHUDA,
                                 Counterclaim
                                 Defendants.



MARGARET M. GARNETT, United States District Judge:

       As discussed and for the reasons stated at the May 28 conference, it is hereby ORDERED
that Defendant shall file a verified statement of accounting and any supporting documents on or
before September 30, 2024, and Plaintiff shall file any objections on or before November 15,
2024.

        It is further ORDERED that the remaining counterclaims in this case shall be set for trial
starting on Monday, February 3, 2025. If the Defendant intends to claim a right to a jury trial
as to the remaining counterclaims, he shall file a letter on the docket so stating, no later than
June 11, 2024. If such a letter is filed, Plaintiff shall file a letter-response no later than June 21,
2024. The Court shall issue a separate scheduling order regarding the dates and deadlines for the
parties’ pre-trial materials and Final Pretrial Conference upon determining whether a trial on the
counterclaims will be heard by a jury or by the Court.

Dated: May 29, 2024
       New York, New York
                                                            SO ORDERED.



                                                            MARGARET M. GARNETT
                                                            United States District Judge
